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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LUZ MARIA LUEVANOS,

             Plaintiff,

v.                                                     No. CV 20-993 RB/CG

WORLD WIDE TECHNOLOGY, LLC, AND
BG STAFFING, INC.,

             Defendants.

                     ORDER ADOPTING JOINT STATUS REPORT
                       AND PROVISIONAL DISCOVERY PLAN

      THIS MATTER is before the Court on the Rule 16 Initial Scheduling Conference

and the parties’ Joint Status Report and Provisional Discovery Plan, (Doc. 12), filed

October 28, 2020. The Court adopts the Joint Status Report and Provisional Discovery

Plan as modified by the dates designated in the Court’s Scheduling Order, (Doc. 15).

      IT IS SO ORDERED.


                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
